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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                Case No.: 9:22-cv-81327-DMM

   JAMES BRANDON,

            Plaintiff,

   v.

   PARAMOUNT RECOVERY SYSTEMS, LP,
   HEALTHCARE REVENUE RECOVERY GROUP, LLC,
   EQUIFAX INFORMATION SERVICES, LLC,
   EXPERIAN INFORMATION SOLUTIONS, INC.
   and TRANSUNION, LLC,

           Defendants.
   ________________________________________/

        JOINT NOTICE OF MEDIATOR SELECTION AND NOTICE SCHEDULING
                               MEDIATION

         Pursuant to the Court’s Order [DE 35] referring this case to mediation, the undersigned

  counsels have selected Gregory P. Holder to mediate this matter on March 22, 2023, commencing

  at 1:30P.M..

         Dated this 28th day of November 2022.

   /s/Trescot Gear                                 /s/ Ernest H. Kohlmyer, III
   Trescot Gear                                    Ernest H. Kohlmyer, III, Esquire
   Gear Law, LLC                                   Florida Bar No. 110108
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                                                   Attorneys for Defendant, Healthcare
                                                   Revenue Recovery Group, LLC
   /s/ Hector E. Lora
   Hector E. Lora, Esq.
   Maurice Wutscher LLP
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a copy of the foregoing has been electronically filed on

  November 28th, 2022, with the Clerk of the Court by using the electronic filing system. I further

  certify that the foregoing has been sent via electronic transmission to the following: Trescot Gear,

  Esquire, at trescotgear@gmail.com and to Hector Lora, Esquire at hlora@MauriceWutscher.com.


                                                       /s/ Ernest H. Kohlmyer, III
                                                       Ernest H. Kohlmyer, III, Esq., LL.M.
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                                                       Revenue Recovery Group




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